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                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MONTANA


 In re:
                                                         Case No. 17-60271
 Roman Catholic Bishop of Great Falls Montana,
 a Montana Religious Corporate Sole                      Chapter 11
 (Diocese of Great Falls),

                   Debtor-in-Possession

              ORDER AUTHORIZING SALE OF REAL PROPERTY
      (OUR LADY OF GUADALUPE CHURCH) PURSUANT TO 11 U.S.C. § 363(B)

          In this Chapter 11 case, the Debtor-in-Possession filed on February 16, 2018, a Motion for

Authorization to Sell Real Property (Our Lady of Guadalupe), and Notice, [Docket #304], which

proposed to sell the following described property located in Yellowstone County, Montana:

          Lots 7A and 12 A, of Amended Plat of Lots 7 through 12, Block 211, Original
          Town of Billings, in the City of Billings, Yellowstone County, Montana,
          according to the official plat on file in the office of the Clerk and Recorder of
          said County, under Document #3742063.

          Pursuant to the Debtor-in-Possession’s Motion/Notice, and Bankruptcy Rule 6004(b),

objections to the proposed sale were required to be filed with the Court and served on the Debtor-in-

Possession within fourteen (14) days of service of the Motion/Notice. No objections having been

filed, and for good cause appearing,

          IT IS HEREBY ORDERED the Debtor’s Motion/Notice is APPROVED and the Debtor-

in-Possession is hereby authorized to sell the real property to Hanson Development, LLC, pursuant

to the terms and conditions set forth in the Motion/Notice.

          IT IS FURTHER HEREBY ORDERED that, after payment of costs of title insurance and

closing costs, all net sale proceeds shall be paid to the Diocese and deposited in a segregated interest

bearing account, separate from all other debtor-in-possession accounts, and that said sale proceeds
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shall not be withdrawn from that account without further order of the Court. Approval of this Order

is not determinative of the interests of Mary Queen of Peace Parish. All of the estate’s rights and

remedies, including actions under Bankruptcy Code §§ 554-550, applicable to the real property sold

pursuant to the Motion are applicable to the net proceeds of the sale.



Dated: March 6, 2018




Honorable Jim D. Pappas
United States Bankruptcy Judge
